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ORANGE COUNTY, FLORIDA

Say f f..,, INTHE COUNTY OF THE
oF Ae NaNTH JUDICIAL CIRCUIT OF FLORIDA
3 2023-CC-021241-O

Rt

Case Number:

EVICTION SUMMONS-RESIDENTIAL
APV CTL ORLANDO PORTFOLIO INVESTOR HOLDINGS, LLC

PLAINTIFF,
VS
If you deposit rent inic the registry of the
a you note park Sot! ey oe
‘Cat
MARTIN ROBERTS the Court. There a fee to deposit. 3M
DEB OR AH ROBERTS for the first $506.00 and 1.5% thereafter.
DEFENDANT(S).
TO: MARTIN ROBERTS
DEBORAH ROBERTS
10524 Demilo Place Apartment No: 312
ORLANDO, FL 32836 PLEASE READ CAREFULLY

You are being sued by APV CTL ORLANDO PORTFOLIO INVESTOR HOLDINGS, LLC , to require you to move out of the place where you are
living for the reasons given in the attached complaint.

You are entitled to a trial to decide whether you are required to move, but you MUST do ALL of the things listed below. You must do them within (5)
days (not including Saturday, Sunday or any legal holiday observed by the clerk of the court) After the date these papers were given to you or to a person who
lives with you or were posted at your home.

THE THINGS YOU MUST DO ARE AS FOLLOWS:
1. Write down the reason(s} why you think you should not be forced to move. The written reasons must be given to the clerk of the court at:
COUNTY COURT CIVIL DIVISION
425 North Orange Avenue, Room 350
Orkando, FL 32801
2. Mail or give a copy of your written reason(s) to:
JAMES I, BARRON, HE, 121 S. ORANGE AVE, SUITE 1500, ORLANDO, FLORIDA 32801

3. Give the clerk of the court the rent that is due as set forth in the landlord’s complaint as determined by the Court. YOU MUST PAY THE CLERK
THE RENT EACH TIME IT BECOMES DUE UNTIL THE LAWSUIT IS OVER. Whether you win or lose the lawsuit, the judge may pay this rent to the
landlord.

4. If you and the landlord do-not agree on the amount of the rent owed, give the court clerk the money you say you owe. Then before the trial you must
ask the judge to set a hearing to decide what amount should be given to the court clerk.

5. If you deposit rent into the registry of the court, you must pay by Cash, Money Order or Cashier’s Check made payable to the Clerk of Court. There
is a fee to deposit, 3% for the first $500.00 and 1.5% thereafter.

IF YOU DO NOT DO ALL OF THESE THINGS WITHIN 5 WORKING DAYS, YOU MAY BE EVICTED WITHOUT A HEARING OF FURTHER
NOTICE.

THE STATE OF FLORIDA:
TO EACH SHERIFF OF THE STATE:
You are commanded to serve this Summons and a copy of the Complaint in this Jawsuit on the above-named Defendant(s).

TIFFANY MOORE RUSSELL, Clerk of the County Court

py, (if Michelle Zayas (Nov/3/2023)

DEPUTY CLERK COUNTY COURT CIVIL DIVISION
425 North Orange Avenue, Room 350
Orlando, FL 32801 407-836-2303

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IN THE COUNTY COURT OF THE NINTH
JUDICIAL CIRCUIT IN AND FOR
ORANGE COUNTY, FLORIDA

CASE NO.: 2023-CC-021241-O

JUDGE:
DIVISION:

APV CTL ORLANDO PORTFOLIO INVESTOR HOLDINGS, LLC
PLAINTIFF,

vs

MARTIN ROBERTS

DEBORAH ROBERTS
DEFENDANT(S).

COMPLAINT FOR TENANT EVICTION

Plaintiff sues defendant(s) and alleges:
COUNT I- EVICTION

1. This is an action to evict a tenant from property in ORANGE County, Florida commenced under authority of
Part II of Chapter 83 (Florida Residential Landlord and Tenant Act) and Chapter 51 (Summary Procedure) of

Florida Statutes.
2. Pursuant to the attached lease agreement, defendant(s) has/have possession of the residential property described

as follows:

10524 Demilo Place Apt. No: 312 ORLANDO, FL 32836
3. Plaintiff is the owner/landlord of the subject property and its common areas and grounds, and the person whose
signature appears on attached lease agreement for the owner/landlord is the agent for the plaintiff.
4. Defendant(s) is/are obligated to pay rent each month to plaintiff, plus late charges when the monthly payments
are made late as provided in the lease agreement.
5. Defendant(s) failed to pay rent which was due on 08/01/2023, and plaintiff properly served defendant(s) with a
three-day notice to pay rent or give possession, a copy of which is attached, as provided in Florida Statutes
83.56(3), and defendant(s) did not do either. Said three-day notice is made a part hereof as if copied in full in this
paragraph of this complaint.
6. Defendant(s) owes plaintiff past due rent in the sum of $2,981.83 which is now past due, and may owe
additional rent by the date of a hearing. The monthly rental rate as per lease is $2,502.00. ,
7. Plaintiff has elected to terminate defendants right of occupancy pursuant to said lease agreement.
8. Plaintiff is obligated to pay its attorneys a reasonable fee for their services for which defendant(s) is/are liable.

WHEREFORE, plaintiff demands judgment instanter against the defendant(s) for possession of the subject
property, costs, and attorney’s fees.
s/ James I. Barron, II
James I. Barron, III (efile@jamesbarronlaw.com)
Florida Bar Number: 852953
Attorney for Plaintiff
APV CTL ORLANDO PORTFOLIO INVESTOR HOLDINGS,
LLC
Law Offices of James I. Barron, III P.A.
121 S. Orange Avenue, Suite 1500
Orlando, FL 32801
407-865-5621

166452 ARGV ORANGE AH

Case 6:23-cv-02311-WWB-EJK Document 1 “ Filed 12/01/23 Page 3 of 12 PagelD 3

Exhibit A

A Carroll Company

3-DAY NOTICE FOR NONPAYMENT OF RENT

DATE: 8/21/2023

TO: Martin Roberts, Deborah Roberts, and all others in possession of

10524 Demilo Place #312

236 Eee

Orlando, FL 32836

YOU ARE HEREBY NOTIFIED that you are indebted to us in the sum of $2,981.83 for the rent and use of
Florida, now occupied by you. We hereby demand payment

the above referenced premises in Orange County,
3) days from the date of delivery of this notice

of said rent or possession of said premises within three {
(excluding the day of delivery, Saturday, Sunday, and legal holidays), to wit: on or before,

08/24/2023

if you vacate the premises or are evicted, we will retake possession of the premises for your account

ddition to unpaid rent, unpaid fees, unpaid utilities and any damage

pursuant to section 83, Florida Statutes. Ina
ure rent and late fees until your lease expires, minus any rent we

to the premises, you will be liable for the fut

receive from re-renting the premises. ifa lawsuit is filed, you may be liable for our attorney's fees and costs.

REMINDERS:
4. Late payments are to be paid by cel

2. Online payments will be temporarily suspended.
3, Checks and Money Orders are not accepted in the office.

rtified funds only utilizing the WIPS program.

Fiorella Acosta

Fiorella Acosta
Property Name: ARIUM Greenview
Legal Name: APV CTE Orlando Portfolio Investor Holdings LLC
Property Address: 10649 Bastille Ln
Orlando, FL. 32836
Property Phone: {407) 545-4720

By: Agent for Landlord:

CERTIFICATION OF DELIVERY

| HEREBY CERTIFY that a true copy hereof was furnished by:

( )ULS. Mail
(¥) Personal Delivery to Resident(s}
{ } Posting on the Premises in the Absence of the Resident(s)

Delivered by: Giyelle Naa Date: 08/21/2023 rime: a

Exhibit B

January 10, 2023
{when the Lease Contract is filled out)

Date of Lease Contract:

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APARTMENT LEASE CONTRACT

RATIONAL APARTMENT ASSOCIATION

‘Vie uae ten Win Beene

This is a binding document. Read carefully before signing.

_ Moving In — General Information eS |

1. PARTIES. This Lease Contract (sometimes referred to as the
"lease”) is between you, the resident(s) (list all people signing the
Lease Contract}:

Martin Perry Roberts, Deborah Roberts

and us, the owner: APFV_ CTL Orlando Portfolio
investor Holdings LLC

{name of apartment community or title holder}. You've agreed to
rent Apartment No. A10-312 at 20524 :
Demile Place #312

(street address) in Orlando

(city), Florida,___ 32836 _ (ip code) (the “dwelling unit" or
the "premises"} for use as a private residence only. The terms "you"
and "your" refer to all residents listed above. The terms "we," "us,"
and “our” refer to the owner listed above (or any of owner's
successors’ in interest or assigns). Written or electronic notice to
or from our managers constitutes notice to or from us. If anyone

else has guaranteed performance of this Lease Contract, a separate’

Lease Contract Guaranty for each guarantor is attached.

The (] Owner or & Manager of these apartments is Carxoil
Management Group LLC

whose address is 3340 Peachtree Rd. NE.

Atlanta, GA 30326

__________ Such person or company is authorized te receive
notices and demands in the landlord's behalf.

A lease termination notice must be given in writing. Notice to the
landlord must be delivered to the management office at the
apartment community or any other address designated by
managementas follows: 10649 Bastille Lane
Orlando, FL 32836

Notice to the tenant must be delivered to the Resident's address as
shown above.

2. OCCUPANTS. The apartment will be occupied only by you and (list
all other occupants not signing the Lease Contract):

Emily Roberts, Richard Roberts

No one else may occupy the apartment. Persons not listed above
must not stay in the apartment for more than____3 ___days
without our prior written consent. if the previous space isn't filled
in, two days per month is the limit.

3. LEASE TERM AND TERMINATION NOTICE REQUIREMENTS.
The initial term of the Lease Contract begins on the_23th day
of January and ends at 11:59 p.m.
the 12th dayof January 2024

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This Lease Contract will automatically renew month-to-month
unless either party gives atleast__60 days’ written notice of
termination or intent to move-out as required by this paragraph
and paragraph 47 (Move-Out Notice). If the number of days isn't
filled in, at least 30 days' notice is required. In the event you fail to
provide us with the required number of days' written notice of
termination and intent to vacate coinciding with the lease expiration
date, as required by this paragraph and paragraph 47 (Move-Out
Notice), you acknowledge and agree that you shall be liable to us
for liquidated damages inthe sum of$__2502.00 (equal to
one month's rent) if we give you the advanced written notice
required by Fla. Stat. § 83.575(2). This liquidated damages amount
is exclusive to insufficient notice under this paragraph and
paragraph 47 (Move-Out Notice), and does not limit collection rights
with regard to other amounts potentially owed to us. If the lease
term is not a month-to-month tenancy, we must notify you with
written notice no later than__69 ___ days before the end of the
lease term if the lease will not be renewed.

Paim Beach County: Ifthe number of days in the paragraph above
is not filled in, at least 60 days' notice is required in Palm Beach
County Ordinance Section 14-82(a}.

Month-to-Month Tenancies: In the event this Lease Contract
renews on a month-to-month basis, you must pay the amount of
rent we charge at the time the month-to-month tenancy commences
pursuant to this paragraph and paragraph 15 (Rent Increases and
Lease Contract Changes}, inclusive of any applicable month-to-month
fees and/or premiums. We may change your rent at any time
thereafter during a month-to-month tenancy by giving you no less
than 30 days’ written notice. You will be required to abide by all
notice requirements set forth in the lease and remain liable to pay
all other applicable charges due under the lease during your month-
to-month tenancy unless specifically changed in writing. Allsums
due under this paragraph shall be additional rent. We may require
you to sign an addendum written for month-to-month tenants.
Either party may terminate a month-to-month tenancy by giving
the other party written notice no later than 15 days’ prior to the
end of the monthly rental period. If you fail to provide us at least
15 days’ written notice to terminate a month-to-month tenancy
prior to the end of the monthly rental period, you shall be liable to
us for an additional 1 month's rent.

Saint Petersburg: Either party may terminate a month-to-month
tenancy by giving the other party written notice no later than 21
days' prior to the end of the monthly rental period. If you fail to
provide us at least 21 days’ written notice to terminate a month-
to-menth tenancy prior to the end of the monthly rental period,
you shall be liable to us for an additional 1 month's rent.

Miami-Dade County, Broward County, Palm Beach County, City
of Lake Worth Beach, City of West Palm Beach, Village of Royal
Palm Beach, Naples: Either party may terminate the month-to-
month tenancy by giving the other party not less than 60 days’
written notice prior to the end of any monthly period. We may
change your rent at any time thereafter during a month-to-month
tenancy by giving you no less than 60 days' written notice. You will
be required to abide by all notice requirements set forth in the lease
and remain liable to pay all other applicable charges due under the
lease during your month-to-month tenancy unless specifically
changed in writing. All sums due under this paragraph shall be
additional rent. This paragraph is only applicable if the dwelling
unit is located in the following localities: Miami-Dade County,
Broward County, Palm Beach County, the City of Lake Worth Beach,
the City of West Palm Beach, the Village of Royal Palm Beach, and
Naples.

Hillsborough County and City of Tampa: Either party may
terminate the month-to-month tenancy by giving the other party
at least 30 days’ written notice prior to the end of any monthly
period, You will be required to abide by all notice requirements set
forth in the lease and remain liable to pay all other applicable
charges due under the lease during your month-to-month tenancy
unless specifically changed in writing. All sums due under this
paragraph shall be additional rent. This paragraph is only applicable
if the dwelling unit is located in Hillsborough County and the City
of Tampa.

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4, SECURITY DEPOSIT. Unless modified by addenda, the total security
deposit at the time of execution of this Lease Contract for all
residents inthe apartmentis$__ 600.00 _ due on or before
the date this Lease Contract is signed.

Any security deposit or advance rent you paid is being held in one
ofthe following three ways as indicated below [Landlord check one
option]:

I] 1. Inaseparate NON-INTEREST bearing account for your benefit

in the following bank: Bank of America

whose address isOQrlando, FL

;OR

() 2. Ina separate INTEREST bearing account for your benefit in
the following bank:

whose address is

If an interest bearing account, you will be entitled to receive and
collectinterest in an amount of at least 75 percent of the annualized
average interest rate payable on such account or interest at the rate
of 5 percent per year, simple interest, whichever the landlord elects.

( 3. Inacommingled account at the following bank

whose address is

provided that the landlord posts a surety bond with the
county or state, as required by law, and pays you interest on
your security deposit or advance rent at the rate of 5 percent
per year simple interest.

BR MR Initials of Resident. Resident acknowledges

receiving a copy of F.S. 83.49(2)(d} which provides as follows:

YOUR LEASE REQUIRES PAYMENT OF CERTAIN DEPOSITS. THE
LANDLORD MAY TRANSFER ADVANCE RENTS TO THE LANDLORD'S
ACCOUNT AS THEY ARE DUE AND WITHOUT NOTICE. WHEN YOU
MOVE OUT, YOU MUST GIVE THE LANDLORD YOUR NEW ADDRESS
SO THAT THE LANDLORD CAN SEND YOU NOTICES REGARDING
YOUR DEPOSIT. THE LANDLORD MUST MAIL YOU NOTICE, WITHIN
30 DAYS AFTER YOU MOVE OUT, OF THE LANDLORD'S INTENT TO
IMPOSE A CLAIM AGAINST THE DEPOSIT. IF YOU DO NOT REPLY
TO THE LANDLORD STATING YOUR OBJECTION TO THE CLAIM
WITHIN 15 DAYS AFTER RECEIPT OF THE LANDLORD'S NOTICE,
THE LANDLORD WILL COLLECT THE CLAIM AND MUST MAIL YOU
THE REMAINING DEPOSIT, IF ANY.

IF THE LANDLORD FAILS TO TIMELY MAIL YOU NOTICE, THE
LANDLORD MUST RETURN THE DEPOSIT BUT MAY LATER FILE
A LAWSUIT AGAINST YOU FOR DAMAGES. IF YOU FAIL TO TIMELY
OBJECT TO A CLAIM, THE LANDLORD MAY COLLECT FROM THE
DEPOSIT, BUT YOU MAY LATER FILE A LAWSUIT CLAIMING A
REFUND.

YOU SHOULD ATTEMPT TO INFORMALLY RESOLVE ANY DISPUTE
BEFORE FILING A LAWSUIT. GENERALLY, THE PARTY IN WHOSE
FAVOR A JUDGMENT 1S RENDERED WILL BE AWARDED costs
AND ATTORNEY FEES PAYABLE BY THE LOSING PARTY.

THIS DISCLOSURE IS BASIC. PLEASE REFER TO PART I OF CHAPTER
83, FLORIDA STATUTES, TO DETERMINE YOUR LEGAL RIGHTS
AND OBLIGATIONS.

_ KEYS, You will be provided__1 apartment key(s),__2._
mailbox key(s}, __1__ FOB(s}, and/or other access
device{s) for access to the building and amenities at no additional
cost at move-in. If the key, FOB, or other access device is lost or
becomes damaged during your tenancy or is not returned or is
returned damaged when you move out, you will be responsible for
the costs for the replacement and/or repair of the same.

. RENT AND CHARGES. Unless modified by addenda, you will pay
$ 2502.00 _ per month for rent, payable in advance and without

demand:

(lat the on-site manager's office, or

‘9 at our online payment site, or
at Approved payment centers

prorated rent of $_ 1533.48 is due for the remainder of [check
one]; & 1st month or CJ 2nd month, on

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Otherwise, you must pay your rent on or before the 1st day of each
month (due date} with no grace period. Cash is unacceptable without
our prior written permission. You must not withhold or offset rent
unless authorized by statute. We may, at our option, require atany
time that you pay all rent and other sums in cash, certified or
cashier's check, money order, or one monthly check rather than
multiple checks. At our discretion, we may convert any and all
checks via the Automated Clearing House (ACH) system for the
purposes of collecting payment. Rent is not considered accepted,
ifthe payment/ACH is rejected, does not clear, or is stopped for any
reason. We may, butare not required to, accept rent through direct
debit, ACH or other electronic means established and approved by
us. If you don't pay all rent on or before the __3rd__ day of the
month, you'll pay a late charge. Your late charge will be {check one)
Cia flat rate of $ or} 10 % of your total
monthly rent payment. You'll also pay a charge of $__75.00

for each returned check or rejected electronic payment, plus a late
charge. If you don't pay rent on time, or fail to pay any rent, utilities
or contractual fees due under a prior lease if this is a renewal lease,
you'll be delinquent and all remedies under this Lease Contract will
be authorized. We'll also have all other remedies for such violation.
All payment obligations under this Lease Contract shall constitute
rent under this Lease Contract.

We and you agree that the failure to pay rent timely or the violation
ofthe animal restrictions results in added administrative expenses
and added costs to us, the same as if we had to borrow money to
pay the operating costs of the property necessary to cover such
added costs. We both agree that the late fee and animal violations
provisions are intended to be liquidated damages since the added
costs of late payments and damages in such instances are difficult
to determine. We also both agree that the amount of late rent and
animal violation fees charged are reasonable estimates of the
administrative expenses, costs, and damages we would incur in
such instances.

All of the foregoing charges will be considered to be additional rent.

UTILITIES. We'll pay for the following items, if checked:

(QQ water Clgas Clelectricity () master antenna.
CJ wastewater QCJtrash (O)cable TV

(J other

You'll pay for all other utilities, related deposits, and any charges,
fees, or services on such utilities. You must not allow utilities to be
disconnected— including disconnection for not paying your bills—
until the lease term or renewal period ends. Cable channels that
are provided may be changed during the lease term if the change
applies to all residents. Utilities may be used only for normal
household purposes and must not be wasted. If your electricity is
ever interrupted, you must use only battery-operated lighting. H
any utilities are submetered for the apartment, or prorated by an
allocation formula, we will attach an addendum to this Lease
Contract in compliance with state agency rules or city ordinance.
Resident shall not heat the apartment using gas-operated stoves
or ovens which were intended for use in cooking.

Where lawful, all utilities, charges and fees of any kind under this
lease shall be considered additional rent, and if partial payments
are accepted by the Landlord, they will be allocated first to non-rent
charges and to rent last. Failure to maintain utilities as required
herein is a material violation of the Lease and may result in
termination of tenancy, eviction and/or any other remedies under
the Lease and Florida law.

INSURANCE, We do not maintain insurance to cover your personal
property or personal injury. We are not responsible to any resident,
guest, or occupant for damage or loss of personal property or
personal injury from (including but not limited to) fire, smoke, rain,
flood, water and pipe leaks, hail, ice, snow, lightning, wind,
explosions, earthquake, interruption of utilities, theft, hurricane,
negligence of other residents, occupants, or invited/uninvited
guests or vandalism unless otherwise required by law.

In addition, we urge all Tenants, and particularly those residing in
coastal areas, areas near rivers, and areas prone to flooding, to
obtain flood insurance. Renter's insurance may not cover damage
to your property due to flooding. A flood insurance resource which
may be available includes the National Flood Insurance Program
managed by the Federal Emergency Management Agency (FEMA).
We (3 require () do not require you to get your own insurance
for losses to your personal property or injuries due to theft, fire,
water damage, pipe leaks and the like. Ifno box is checked, renter's
insurance is not required.

Additionally, you are [check one] @} required to purchase personal
liability insurance (2) not required te purchase personal liability
insurance. If no box is checked, personal liability insurance is not

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required. Ifrequired, failure to maintain personal liability insurance
throughout your tenancy, including any renewal periods and/or
lease extensions is an incurable breach of this Lease Contract and
may result in the termination of tenancy and eviction and/or any
other remedies as provided by this Lease Contract or state law.

9, LOCKS AND LATCHES. Keyed lock(s) will be rekeyed after the
prior resident moves out. The rekeying will be done before you
move inte your apartment.

You may atany time ask us to change or rekey locks or latches during

the Lease Term. We must comply with those requests, but you must
pay for them, unless otherwise provided by law.

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Payment for Rekeying, Repairs, Etc. You must pay forall repairs
or replacements arising from misuse or damage to devices by you
or your family, occupants, or guests during your occupancy. You
may be required to pay in advance if we notify you within a
reasonable time after your request that you are more than 30 days
delinquent in reimbursing us for repairing or replacing a device
which was misused or damaged by you, your guest or an occupant;
or ifyou have requested that we repair or change or rekey the same
device during the 30 days preceding your request and we have
complied with your request. Otherwise, you must pay immediately
after the work is completed.

Special Provisions and “What If” Clauses

+

10. SPECIAL PROVISIONS, The following special provisions and any

addenda or written rules furnished to you at or before signing will
become a part of this Lease Contract and will supersede any
conflicting provisions of this printed Lease Contract form.

See Additional Special Provisions

See any additional special provisions.

11, EARLY MOVE-OUT. Unless modified by an addendum, if you:

(1) move out without paying rent in full for the entire Lease
Contract term or renewal period; or

(2) move out at our demand because of your default; or

(3) are judicially evicted.

You will be liable for all rent owed at the time and as it becomes

due under the terms of your lease agreement until the apartment

is re-rented.

12. REIMBURSEMENT. You must promptly reimburse us for loss,

damage, government fines, or cost of repairs or service in the
apartment or apartment community due toa violation of the Lease
Contract or rules, improper use, or negligence by you or your guests
or occupants or any other cause not due to our negligence or fault
as allowed by law, except for damages by acts of God to the extent
they couldn't be mitigated by your action or inaction, You'll defend,
indemnify and hold us harmless from all liability arising from your
conduct or that of your invitees, your occupants, your guests, or
our representatives who at your request perform services not
contemplated in this Lease. Unless the damage or wastewater
stoppage is due to our negligence, we're not liable for—and
you must pay for-—-repairs, replacement costs, and damage to
the following that result from your or your invitees, guests, or
occupants’ negligence or intentional acts: {1} damage to doors,
windows, or screens; {2} damage from windows or doors left
open; and (3) damage from wastewater stoppages caused by
improper obiecis in lines exclusively serving your apartment.

We may require payment at any time, including advance payment
of repairs for which you're liable. Delay in demanding sums you
owe is not a waiver.

13. CONTRACTUAL LIEN AND PROPERTY LEFT IN APARTMENT.

All property in the apartment or common areas associated
with the apartment is (unless exempt under state statute)
subject to a contractual lien to secure payment of delinquent
rent. The lien will attach to your property or your property
will be subject to the lien at the time you surrender possession
or abandon the premises. For this purpose, “apartment” includes
common areas associated with the apartment and interior living
areas and exterior patios, balconies, attached garages, and
storerooms for your exclusive use.

Removal After Surrender or Abandonment. We or law officers
may, at our discretion, remove, dispose and/or store all property
remaining in the apartment or in common areas (including any
vehicles you or any occupant or guest owns or uses) ifyou surrender,
are judicially evicted, or abandon the apartment {see definitions
in paragraph 52 (Surrender and Abandonment).

THE LANDLORD IS NOT REQUIRED TO COMPLY WITH s. 715.104.
BY SIGNING THIS RENTAL AGREEMENT, THE TENANT AGREES
THAT UPON SURRENDER, ABANDONMENT, OR RECOVERY OF
POSSESSION OF THE DWELLING UNIT DUE TO THE DEATH OF
THE LAST REMAINING TENANT, AS PROVIDED BY CHAPTER
83, FLORIDA STATUTES, THE LANDLORD SHALL NOT BE LIABLE
OR RESPONSIBLE FOR STORAGE OR DISPOSITION OF THE
TENANT'S PERSONAL PROPERTY.

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14.

15.

16.

17.

Storage. We may store, but have no duty to store, property removed
after surrender, eviction, or abandonment of the apartment. We're
not liable for casualty loss, damage, or theft except for property
removed under a contractual lien. You must pay reasonable charges
for our packing, removing, storing, and selling any property.

FAILING TG PAY RENT. Ifyou don't pay the first month's rent when
or before the Lease Contract begins, or any other rent due under
this lease we may end your right of occupancy and recover damages,
attorney's fees, court costs, and other lawful charges.

RENT INCREASES AND LEASE CONTRACT CHANGES.

No rent increases or Lease Contract changes are allowed before
the initial Lease Contract term ends, except for changes allowed
by any special provisions in paragraph 10 (Special Provisions), by
a written addendum or amendment signed by you and us, or by
reasonable changes of apartment rules allowed under paragraph
19 (Community Policies or Rules). If, at least 5 days before the
advance notice deadline referred to in paragraph 3 (Lease Term
and Termination Notice Requirements), we give you written notice
of rent increases or lease changes effective when the lease term or
renewal period ends, this Lease Contract will automatically continue
month-to-month with the increased rent or lease changes. The new
modified Lease Contract will begin on the date stated in the notice
{without necessity of your signature) unless you give us written
move-out notice under paragraph 47 (Move-Out Notice).

DELAY OF OCCUPANCY. If occupancy is or will be delayed for
construction, repairs, cleaning, or a previous resident's holding
over, we're not responsible for the delay. The Lease Contract will
remain in force subject to: (1) abatement of rent on a daily basis
during delay; and (2) your right to terminate as set forth below.
Termination notice must be in writing. After termination, you are
entitled only to refund of deposit(s) and any rent paid. Rent
abatement or Lease Contract termination does not apply if delay is
for cleaning or repairs that don't prevent you from occupying the
apartment.

If there is a delay and we haven't given notice of delay as set forth
immediately below, you may terminate up to the date when the
apartment is ready for occupancy, but not later.

(1) If we give written notice to any of you when or after the initial
term as set forth in Paragraph 3 (Lease Term and Termination
Notice Requirements})—and the notice states that occupancy
has been delayed because of construction or a previous
resident's holding over, and that the apartment will be ready
on a specific date—you may terminate the Lease Contract
within 3 days of your receiving the notice, but not later.

{2} If we give written notice to any of you before the initial term
as set forth in Paragraph 3 (Lease Term and Termination
Notice Requirements) and the notice states that construction
delay is expected and that the apartment will be ready for
you to occupy on a specific date, you may terminate the Lease
Contract within 7 days after any of you receives written notice,
but not later. The readiness date is considered the new initial
term as set forth in Paragraph 3 (Lease Term and Termination
Notice Requirements) for all purposes. This new date may not
be moved to an earlier date unless we and you agree,

AD VALOREM TAXES/FEES AND CHARGES - ADDITIONAL RENT.
Unless otherwise prohibited by law, if, during the term of this Lease,
any locality, city, state, or Federal Government imposes upon Us,
any fee, charge, or tax, which is related to or charged by the number
of occupants, or by the dwelling unit itself, such that we are charged
a fee, charge, or tax, based upon your use or occupancy of the
dwelling unit, we may add this charge as Additional Rent, during
theterm of the Lease Contract, with thirty (30) days advance written
notice to you. After this written notice (the amount or approximate
amount of the charge, will be included), you agree to pay, as
Additional Rent, the amount of the charge, tax or fee imposed upon

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us, as a result of your occupancy. As examples, these charges can
include, but are not limited to: any charges we receive for any zoning
violation, sound, noise or litter charge; any charge under any
nuisance or chronic nuisance type statute, 911 or other life safety,
per person, or per unit charge or tax and any utility bill unpaid by
you, which is then assessed to us for payment,

18. DISCLOSURE RIGHTS. If someone requests information on you
or your rental history for law-enforcement, governmental, or
business purposes, we may provide it. At our request, any utility
provider may give us information about pending or actual
connections or disconnections of utility service to your apartment.

While You're Living in the Apartment

a

19. COMMUNITY POLICIES OR RULES. You and all guests and
occupants must comply with any written apartment rules and
community policies, including instructions for care of our property.
Our rules are considered part of this Lease Contract. We may make
reasonable changes to written rules, effective immediately, if they
are distributed and applicable to all units in the apartment
community and do not change dollar amounts on page 1 of this

Lease Contract.

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. LIMITATIONS ON CONDUCT, The apartment and other areas
reserved for your private use must be kept clean and free of trash,
garbage, and other debris. Trash must be disposed of at least weekly
in appropriate receptacles in accordance with local ordinances.
Passageways may be used only for entry or exit. You agree to keep
all passageways and common areas free of obstructions such as
trash, storage items, and all forms of personal property. No person
shall ride or allow bikes, skateboards, or other similar objects in
the passageways. Any swimming pools, saunas, spas, tanning beds,
exercise rooms, storerooms, laundry rooms, and similar areas must
be used with care in accordance with apartment rules and posted
signs. Glass containers are prohibited in all common areas. You,
your occupants, or guests may not anywhere in the apartment
community: use candles or use kerosene lamps or kerosene heaters
without our prior written approval; cook on balconies or outside;
or solicit business or contributions. Conducting any kind of business
{including child care services} in your apartment or in the apartment
community is prohibited except that any lawful business conducted
"at home" by computer, mail, or telephone is permissible if customers,
clients, patients, or other business associates do not come to your
apartment for business purposes. We may regulate: (1) the use of
patios, balconies, and porches; (2) the conduct of furniture movers
and delivery persons; and (3) recreational activities in common
areas, You'll be liable to us for damage caused by you or any guests
or occupants.

We may exclude, and/or “No Trespass” from the apartment
community guests or others who, in our judgment, have been
violating the law, violating this Lease Contract or any apartment
rules, or disturbing other residents, neighbors, visitors, or owner
representatives. We may also exclude from any outside area or
common area a person who refuses to show photo identification
or refuses to identify himself or herself as a resident, occupant, or
guest of a specific resident in the community. Tenant agrees that
landlord reserves the right to trespass any non-tenant from the
leased premises and common areas.

You agree to notify us if you or any occupants are convicted ofany
felony, or misdemeanor involving a controlled substance, violence
to another person or destruction of property. You also agree to
notify us if you or any occupant registers as a sex offender in any
state. Informing us of criminal convictions or sex offender registry
does not waive our right to evict you.

PROHIBITED CONDUCT. You, your occupants or guests, or the
guests of any occupants, may not engage in the following activities:
behaving in a loud or obnoxious manner; disturbing or threatening
the rights, comfort, health, safety, or convenience of others (including
our agents and employees) in or near the apartment community;
disrupting our business operations; manufacturing, delivering,
possessing with intent to deliver, or otherwise possessing a
controlled substance or drug paraphernalia; engaging in or
threatening violence; possessing a weapon prohibited by state law;
discharging a firearm in the apartment community; displaying or
possessing a gun, knife, or other weapon in the common area ina
way that may alarm others; engaging in criminal activity that
threatens the health, safety, or right to peaceful enjoyment of others
in or near the apartment community (regardiess of arrest or
conviction}; storing anything in closets having gas appliances;
tampering with utilities or telecommunications; bringing hazardous
materials into the apartment community; or injuring our reputation
by making bad faith allegations against us to others. You agree to
communicate and conduct yourself at all times in a lawful, courteous,
and reasonable manner when interacting with our employees,
agents, independent contractors, and vendors; other residents,
occupants, guests or invitees; or any other person on the premises.
You agree not to engage in any abusive behavior, either verbal or
physical, or any form of intimidation or aggression directed at our

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employees, agents, independent contractors, and vendors; other
residents, occupants, guests or invitees; or any other person on the
premises. If requested by us, you agree to conduct al! further
business with us in writing. You agree not to make, post or publish
information that contains the personal information or likeness of
another person, or is libelous, harassing, abusive, obscene, vulgar,
sexually explicit, or is inappropriate with respect to race, gender,
sexuality, ethnicity, or other intrinsic characteristic; or is unrelated
to the goods or services offered by or available at this Apartment
Community; or is clearly false or misleading. You agree not to use
our corporate names, slogans, images, photos, logos, internet domain
names, trademarks, copyrights or trade names. Any violation of
this paragraph shall be a material breach of this Lease and will
entitle us to exercise all rights and remedies under the lease and
aw.

22. PARKING, We may regulate the time, manner, and place of parking
cars, trucks, motorcycles, bicycles, boats, trailers, recreational
vehicles, and storage devices by anyone, We may have unauthorized
or illegally parked vehicles towed under an appropriate statute. A
vehicle is unauthorized or illegally parked in the apartment
community if it:

(4) has a flat tire or other condition rendering it inoperable; or
(2) is on jacks, blocks or has wheel{s) missing; or
(3) has ne current license plate or no current registration and/or
inspection sticker; or
{4} takes up more than one parking space; or
(5) belongs to a resident or occupant who has surrendered or
abandoned the apartment; or
(6) is parked in a marked handicap space without the legally
required handicap insignia; or
(7} is parked in space marked for manager, staff, or guest at the
office; or
{8) blocks another vehicle from exiting; or
(9) is parked in a fire lane or designated "no parking" area; or
(10) is parked in a space marked for other resident(s) or unit(s); or
(11) is parked on the grass, sidewalk, or patio; or
(12) blocks garbage trucks from access to a dumpster; or
(13) belongs to a resident and is parked in a visitor or retail parking
space.

23, RELEASE OF RESIDENT. Unless you're entitled to terminate your
tenancy under paragraphs 10 (Special Provisions), 16 (Delay of
Occupancy), 24 (Military Personnel Clause), 32 (Responsibilities
of Owner), 47 (Move-Out Notice), or by separate addendum, you
won'tbe released from this Lease Contract for any reason—including
but not limited to voluntary or involuntary school withdrawal or
transfer, voluntary or involuntary job transfer, marriage, separation,
divorce, reconciliation, loss of co-residents, loss of employment,
bad health, or death.

24, MILITARY PERSONNEL CLAUSE, All parties to this Lease Contract
agree to comply with any federal law, including, but not limited to
the Service Member’s Civil Relief Act, or any applicable state law(s),
ifyou are seeking to terminate this Lease Contract and/or subsequent
renewals and/or Lease Contract extensions under the rights granted
by such laws.

25. RESIDENT SAFETY AND PROPERTY LOSS. You and all occupants
and guests must exercise due care for your own and others’ safety
and security, especially in the use of smoke detectors and carbon
monoxide detectors, keyed deadbolt locks, keyless bolting devices,
window latches, and other access control devices.

Smoke Detectors and Carbon Monoxide Detectors.

We'll furnish smoke detectors and carbon monoxide detectors only
if required by statute and we'll test them and provide working
batteries when you first take possession. After that, you must test
the smoke detectors and the carbon monoxide detectors ona regular
basis, you must pay for and replace batteries as needed, unless the
law provides otherwise. We may replace dead or missing batteries
at your expense, without prior notice to you. You must immediately
report smoke detector and carbon monoxide detector malfunctions
to us, Neither you nor others may disable neither the smoke
detectors nor the carbon monoxide detectors. If you disable or
damage the smoke detectors or the carbon monoxide detectors,
or fail to replace a dead battery or fail to report malfunctions to

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26.

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us, you will be liable to us and others for any loss, actual damages,
fines imposed by any state or local agencies or municipalities,
attorney fees and costs.

Casualty Loss. We're not liable to any resident, guest, or occupant
for personal injury or damage or loss of personal property from
any cause, including but not limited to: fire, smoke, rain, flood,
water and pipe leaks, hail, ice, snow, lightning, wind, explosions,
earthquake, interruption of utilities, theft, or vandalism unless
otherwise required by law. We have no duty to remove any ice,
water, sleet, or snow but may remove any amount with or without
notice. During freezing weather, you must ensure that the
temperature in the apartment is sufficient to make sure that the
pipes de not freeze (the appropriate temperature will depend upon
weather conditions and the size and layout of your unit). Ifthe pipes
freeze or any other damage is caused by your failure to properly
maintain the heat in your apartment, you'll be liable for damage to
our and other's property. Ifyou ask our representatives to perform
services not contemplated in this Lease Contract, you will indemnify
us and hold us harmless from all liability for those services.

Crime or Emergency. Dial 911 or immediately call local medical
emergency, fire, or police personnel in case of accident, fire, smoke,
or suspected criminal activity or other emergency involving
imminent harm. You should then contact our representative. Unless
otherwise provided by law, we're not liable to you or any guests or
occupants for injury, damage, or loss to person or property caused
by criminal conduct of other persons, including theft, burglary,
assault, vandalism, or other crimes. We're not obliged to furnish
security personnel, security lighting, security gates or fences, or
other forms of security. If we provide any access control devices or
security measures upon the property, they are not a guarantee to
prevent crime or to reduce the risk of crime on the property. You
agree that no access control or security measures can eliminate all
crime and that you will not rely upon any provided access control
or security measures as a warranty or guarantee of any kind. We're
not responsible for obtaining criminal-history checks on any
residents, occupants, guests, or contractors in the apartment
community. If you or any occupant or guest is affected by a crime,
you must make a written report to our representative and to the
appropriate local law-enforcement agency. You must also furnish
us with the law-enforcement agency's incident report number upon
request.

Fire Protection. Please check only one box: CQ) Fire protection is
NOT available or () Fire protection IS AVAILABLE. Description of

fire protection available (not applicable unless the box is checked):

& Sprinkler System in apartment

(Q Sprinkler System in common areas

§ Smoke detector

(J Carbon monoxide detector

a Fire extinguisher

@) Other (Describe): Fire avert at stove

Building, Housing, or Health Codes. We will comply with the
requirements of applicable building, housing, and health codes. If
there are no applicable building, housing, or health codes, we will
maintain the roofs, windows, screens, doors, floors, steps, porches,
exterior walis, foundations, and all other structural components
in good repair and capable of resisting normal forces and loads,
and the plumbing in reasonable working condition. However, we

are not responsible for the repair of conditions created or caused |

by the negligent or wrongful act or omission of you, a member of
your family, or any other person on the premises, in the apartment,
or in the common areas of the apartment community with your
consent.

CONDITION OF THE PREMISES AND ALTERATIONS, Youaccept
the apartment, fixtures, and furniture as is, except for conditions
materially affecting the health or safety of ordinary persons. We
disclaim all implied warranties. You'll be given an Inventory and
Condition form on or before move-in. You must note on the form
all defects or damage and return it to our representative. Otherwise,
everything will be considered to be in a clean, safe, and good working
condition.

You must use customary diligence in maintaining the apartment
and not damaging or littering the common areas. Unless authorized
by statute or by us in writing, you must not perform any repairs,
painting, wallpapering, carpeting, electrical changes, or otherwise
alter our property. No holes or stickers are allowed inside or outside
the apartment. But we'll permit a reasonable number of small nail
holes for hanging pictures on sheetrock walls and in grooves of
wood-paneled walls, unless our rules state otherwise. No water
furniture, washing machines, additional phone or TV-cable outlets,
alarm systems, or lock changes, additions, or rekeying is permitted
unless statutorily allowed or we've consented in writing. You may

27.

instal a satellite dish or antenna provided you sign our satellite
dish or antenna lease addendum which complies with reasonable
restrictions allowed by federal law. You agree not to alter, damage,
or remove our property, including alarm systems, smoke detectors
and carbon monoxide detectors, furniture, telephone and cable TV
wiring, screens, locks, and access contral devices, When you move
in, we'll supply light bulbs for fixtures we furnish, including exterior
fixtures operated from inside the apartment; after that, you'll replace
them at your expense with bulbs of the same type and wattage. Your
improvements and/or added fixtures to the apartment (whether or
not we consent} become ours unless we agree otherwise in writing.

Liens for Improvements. The interest of the Owner/Landlord
shall not be subject to Hens for improvements made by the Tenant{s)
or Tenant{s}’ contractors as provided in Section 713.10, Florida
Statutes. You shall notify all parties performing work on the
premises at your request that the Lease DOES NOT allow any liens
to attach to Landlord's/Owner's interest, and the knowing or willful
failure to provide such notice to the contractor shall render the
contract between you and the contractor voidable at the option of
the contractor. Any violation of this provision constitutes a material
breach and default of the lease entitling us to terminate your Lease
and/or to seek all remedies available under this Lease and law.

Pest Control. We will make reasonable provisions for the
extermination of rats, mice, roaches, ants, wood destroying
organisms, and bed bugs. If you are required to vacate the premises
for such extermination, we shall not be liable for damages, but rent
shall be abated. If you are required to vacate in order to perform
pest control or extermination services, you will be given seven (7)
days written notice of the necessity to vacate, and you will not be
required to vacate for more than four (4} days. We may still enter
your apartment as provided in Paragraph 29 (When We May Enter)
of this Lease and F.S. 83.53 or upon 24 hours notice to perform pest
control or extermination services which do not require you te vacate
the premises. You must comply with all applicable provisions of
building, housing and health codes and maintain the apartment
and adjacent common areas in a clean and sanitary manner. You
must properly dispose of and promptly remove all of your garbage
so as to prevent foul odors, unsanitary conditions, or infestation
of pests and vermin in your apartment, adjacent common areas
(such as breezeways), and other common areas of the apartment
community.

Waterbeds. You are allowed to have a waterbed or flotation bedding
systems provided it complies with any applicable building codes
and provided that you carry flotation or renter's insurance which
covers any damages which occur as a result of using the waterbed
or flotation bedding system. You must provide us with a copy of
the policy upon request. You must also name us as an additional
insured at our request.

REQUESTS, REPAIRS, AND MALFUNCTIONS. IF YOU OR ANY
OCCUPANT NEEDS TO SEND A NOTICE GR REQUEST—FOR
EXAMPLE, FOR REPAIRS, INSTALLATIONS, SERVICES, OR SECURITY
RELATED MATTERS—IT MUST BE SUBMITTED THROUGH EITHER
THE ONLINE TENANT/MAINTENANCE PORTAL, OR SIGNED AND
IN WRITING AND DELIVERED TO OUR DESIGNATED
REPRESENTATIVE {except in case of fire, smoke, gas, explosion,
overflowing sewage, uncontrollable running water, electrical shorts,
or crime in progress}. Our written notes on your oral request do
not constitute a written request from you.

Our complying with or responding to any oral request regarding
security or non-security matters doesn't waive the strict requirement
for written notices under this Lease Contract. You must promptly
notify us in writing of: water leaks; electrical problems;
malfunctioning lights; broken or missing locks or latches; and other
conditions that pose a hazard to property, health, or safety. We may
change or install utility lines or equipment serving the apartment
if the work is done reasonably without substantially increasing
your utility costs. We may turn off equipment and interrupt utilities
as needed to avoid property damage or te perform work. Ifutilities
malfunction or are damaged by fire, water, or similar cause, you
must notify our representative immediately. Air conditioning
problems are not emergencies. If air conditioning or other equipment
malfunctions, you must notify our representative as soon as possible
on a business day. We'll act with customary diligence to make
repairs and reconnections. Rent will not abate in whole or in part.
If we believe that fire, catastrophic damage, extermination issues,
mold and mildew or any habitability issues whatsoever is substantial,
or that performance of needed repairs poses a danger to you, we
may terminate this Lease Contract within a reasonable time by
giving you written notice.

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: 28, ANIMALS. Unless otherwise provided under federal, state, or local reasonable times for the purposes listed in (2) below. If nobody is

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law, no animals (including mammals, reptiles, birds, fish, rodents,
and insects) are allowed, even temporarily, any where in the Dwelling
or Community unless we've so authorized in writing. You must
remove an illegal or unauthorized animal within 24 hours of notice
from us, or you will be considered in default of this Lease Contract.
If we allow an animal as a pet, you must execute a separate animal
addendum which may require additional deposits, rents, fees or
other charges. An animal deposit is considered a general security
deposit. We will authorize an assistance animal for a disabled
person. When allowed by applicable laws, before we authorize an
assistance animal, ifthe disability is not readily apparent, we may
require a written statement from a qualified professional verifying
the disability-related need for the assistance animal. If we authorize
an assistance animal we may require you to execute a separate
animal and/or assistance animal addendum. Animal deposits,
additional rents, fees or other charges will not be required for an
assistance animal needed due te disability, including an emotional
support or service animal, as authorized under federal, state, or
local law. You must not feed stray or wild animals.

If you or any guest or occupant violates animal restrictions (with
or without your knowledge), you'll be subject to charges, damages,
eviction, and other remedies provided in this Lease Contract. Ifan
animal has been in the apartment at any time during your term of
occupancy {with or without our consent), we'll charge you for
defleaing, deodorizing, and shampooing. Initial and daily animai-
violation charges and animal-removal charges are liquidated
damages for our time, inconvenience, and overhead {except for
attorney's fees and litigation costs) in enforcing animal restrictions
and rules. We may remove an unauthorized animal by (1) leaving,
in a conspicuous place in the apartment, a 24-hour written notice
of intent t¢ remove the animal, and (2} following the procedures
of paragraph 29 (When We May Enter}. We may keep or kennel the
animal or turn it over to a humane society or local authority. When
keeping or kenneling an animal, we won't be Hable for loss, harm,
sickness, or death of the animal unless due to our negligence. We'll
return the animal to you upon request if it has not already been
turned over to a humane society or local authority. You must pay
for the animal's reasonable care and kenneling charges. We have
no lien on the animal for any purpose.

WHEN WE MAY ENTER. Pursuant to Fla. Stat. §83.53, we may
enter the dwelling unit at any time for the protection or preservation
of the premises, in the case of an emergency, or if you unreasonably
withhold consent. If you or any guest or occupant is present, then
repairers, servicers, contractors, our representatives or other
persons listed in (2) below may peacefully enter the apartment at

in the apartment, then such persons may enter peacefully and at
reasonable times by duplicate or master key (or by breaking a
window or other means when necessary in emergencies) if:

(1) we provide you with written notice to enter at least 24 hours
prior to the entry to take place between the hours of 7:30
a.m. and 8:00 p.m.; and

(2) entry is for: responding to your request; making repairs
or replacements; estimating repair or refurbishing costs;
performing pest control; doing preventive maintenance;
changing filters; testing or replacing smoke-detector and
carbon monoxide detector batteries; retrieving unreturned
tools, equipment or appliances; preventing waste of utilities;
exercising our contractual Hen; leaving notices; delivering,
installing, reconnecting, or replacing appliances, furniture,
equipment, or access control devices; remeving or rekeying
unauthorized access control devices; removing unauthorized
window coverings; stopping excessive noise; removing health
or safety hazards (including hazardous materials}, or items
prohibited under our rules; removing perishable foodstuffs
if your electricity is disconnected; removing unauthorized
animals; cutting off electricity according to statute; retrieving
property owned or leased by former residents; inspecting
when immediate danger to person or property is reasonably
suspected; allowing persons to enter as you authorized in your
rental application (if you die, are incarcerated, etc.); allowing
entry by a law officer with a search or arrest warrant, or in
hot pursuit; showing apartment to prospective residents
{after move-out or vacate notice has been given); showing
apartment to government inspectors for the limited purpose
of determining housing and fire ordinance compliance by us
and to lenders, appraisers, contractors, prospective buyers, or
insurance agents; or any other reasonable business purpose.

30, JOINT AND SEVERAL RESPONSIBILITY. Each residentis jointly
and severally liable for all lease obligations. If you or any guest or
occupant violates the Lease Contract or rules, all residents are
considered to have violated the Lease Contract. Our requests and
notices (including sale notices) to any resident constitute notice
to all residents and occupants. Notices and requests from any
resident or occupant (including notices of lease termination, repair
requests, and entry permissions) constitute notice from all
residents. In eviction suits, each resident is considered the agent
of all other residents in the apartment for service of process.
Security-deposit refunds and deduction itemizations of multiple
residents will comply with paragraph 52 (Deposit Return, Surrender,
and Abandonment).

Replacements

31.

REPLACEMENTS AND SUBLETTING. Replacing a resident, sub-
letting, assignment, or granting a right or license to occupy is
allowed only when we expressly consent in writing.

Procedures for Replacement. If we approve a replacement

resident, then, at our option: (1} the replacement resident must
sign this Lease Contract with or without an increase in the total

security deposit; or (2) the remaining and replacement residents

mustsign an entirely new Lease Contract. Unless we agree otherwise
in writing, your security deposit will automatically transfer te the
replacement resident as of the date we approve. The departing
resident will no longer have a right to occupancy or a security
deposit refund, but will remain liable for the remainder of the
original Lease Contract term unless we agree otherwise in writing—
even ifa new Lease Contract is signed.

Responsibilities of Owner and Resident |

. RESPONSIBILITIES OF OWNER, We'llact with customary diligence

to:

(1) keep common areas reasonably clean, subject to paragraph 26
(Condition of the Premises and Alterations);

(2} maintain fixtures, furniture, hot water, heating and A/C
equipment;

{3) comply with applicable federal, state, and local laws regarding
safety, sanitation, and fair housing; and

(4} make all reasonable repairs, subject to your obligation to pay
for damages for which you are liable.

If we violate any of the above or other material provisions of the
lease, you may terminate this Lease Contract and exercise other
remedies under state statute only as follows:

{a} you must make a written request for repair, maintenance, or
remedy of the condition to us, specifying how we have failed to
comply with Florida law or with the material provisions of this
lease and indicating your intention to terminate the lease if the
violation is not corrected within seven (7) days after delivery
of the notice;

after receiving the request, we have a reasonable time to repair
or remedy the condition, considering the nature of the problem
and the reasonable availability of materials, labor, and utilities;

(b)

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{c) if our failure to comply with Florida law or material provisions
of the rental agreement is due to causes beyond our control
and we have made and continue to make every reasonable
effort to correct the failure to comply, you may also exercise
other statutory remedies.

Ali rent must be current at the time you give us notice of
noncompliance.

Recycling Program Disclosure Notification. Where required,
this property participates in a recycling program that conforms
to all applicable law{s} and general information, education and/or
guidelines pertaining to our recycling program will be provided
toyou,

33, DEFAULT BY RESIDENT. You'll be in default if you or any guest
or occupant violates any terms of this Lease Contract including but
not limited to the following violations: {1} you don't pay rent or
other amounts that you awe when due; (2) you or any guest or
occupant violates this Lease Contract, apartment rules, or fire,
safety, health, or criminal laws, regardless of whether or where
arrest or conviction occurs; (3) you abandon the apartment;
(4} you give incorrect or false answers in a rental application;

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(5) you or any occupant is arrested, convicted, or given deferred
adjudication for a felony offense involving actual or potential
physical harm to a person, or involving possession, manufacture,
or delivery of a controlled substance, marijuana, or drug
paraphernalia under state statute; or (6) any illegal drugs or
paraphernalia are found in your apartment.

Termination of Rental Agreement - Your Failure to Pay Rent
Due. Ifyou default by failing to pay rent when due and the default
continues for three (3) days, not counting Saturday, Sunday, and
court-observed legal holidays, after delivery of a written demand
for payment of the rent or possession of the premises, we may
terminate the rental agreement. Termination of this lease for non-
payment of rent, or termination of your possession rights, filing of
an action for possession, eviction, issuance of a writ of possession,
or subsequent reletting doesn't release you from liability for future
rent or other lease obligations.

Termination of Rental Agreement - Your Failure to Comply with
FS. 83.52 or Material Provisions of the Lease.

(1) If you default by materially failing to comply with FS.
83.52 or material provisions of this lease, the rules and
regulations, or any addenda (other than failure to pay rent
due), and the non-compliance is of a nature that YOU SHOULD
NOT BE GIVEN AN OPPORTUNITY TO CURE or if your non-
compliance CONSTITUTES A SECOND OR CONTINUING NON- |
COMPLIANCE WITHIN TWELVE (12) MONTHS OF A SIMILAR
VIOLATION, we may terminate the lease by delivering
written notice specifying the nature of the non-compliance
and our intention to terminate the lease. Upon receiving such
a lease termination notice without opportunity to cure or
constituting a second violation within 12 months, you will
have seven (7) days from delivery of the notice to vacate
the apartment and premises. Examples of non-compliance
which are without opportunity to cure include, but are not i
limited to, destruction, damage, or misuse of our or other
resident's property by your intentional acts or a subsequent |
or continued unreasonable disturbance.

(2) If you default by materially failing to comply with F.S. 83.52
or material provisions of this lease, the rules and regulations,
or any addenda (other than failure to pay rent due), and the
non-compliance is of a nature that YOU SHOULD be given an
opportunity to cure it, we may deliver a written notice to you
specifying the nature of the non-compliance and notifying
you that unless the non-compliance is corrected within
seven (7) days of delivery of the notice, we may terminate
the lease. If you fail to correct the violation within seven (7)
days of receiving such notice or if you repeat same conduct
or conduct of a similar nature within a twelve (12) month
period, we may terminate your lease without giving you any
further opportunity to cure the non-compliance as provided
above. Examples of non-compliance in which we will give
you an opportunity to cure the violation include, but are not
limited to, unauthorized pets, guests, or vehicles, parking in
an unauthorized manner, or failing to keep the apartment
and premises clean and sanitary. We will also have all rights
under Florida law and this lease to tow or remove improperly
parked vehicles in addition to our remedy of terminating the
lease for such violations.

Termination of this lease for non-compliance with F.S. 83.52 or
material provisions of the lease, termination of your possession
rights, filing of an action for possession, eviction, issuance of a writ
of possession, or subsequent reletting doesn't release you from
liability for future rent or other lease obligations.

Holdover. You or any occupant, invitee, or guest must not held
over beyond the date contained in your move-out notice or our
notice to vacate {or beyond a different move-out date agreed to by
the parties in writing). [fa holdover occurs, then: (1} holdover rent

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is due in advance on a daily basis and may become delinquent
without notice or demand; (2} we may file a holdover eviction
lawsuit pursuant to Fla. Stat. §83.58 to recover possession of the
dwelling unit, double the amount of rent due for each day that you
continue to holdover and refuse to surrender possession during
the holdover period, breach of contract damages, attorney fees and
court costs as may be applicable; or (3) at our option, we may extend
the Lease Contract term—for up to one month from the date of
notice of Lease Contract extension—by delivering written notice
to you or your apartment while you continue to hold over.

Other Remedies. We may report unpaid amounts to creditagencies.
Ifwe, or a third-party debt collector we use, try to collect any money
you owe us, you agree that we or the debt collector may call youon
your cell phone and may use an automated dialer. If you default and
move out early, you will pay us any amounts stated to be rental
discounts in paragraph 10 (Special Provisions), in addition to other
sums due, Upon your default, we have all other legal remedies under
State statute. Unless a party is seeking exemplary, punitive,
sentimental or personal-injury damages, the prevailing party may
recover from the non-prevailing party attorney's fees and all other
litigation costs. Attorney fees and all other expenses shall be deemed
“costs”. Late charges are liquidated damages for our time,
inconvenience, and overhead in collecting late rent (butare not for
attorney's fees and litigation costs). All unpaid amounts bear 18%
interest per year from due date, compounded annually. You must
pay all collection-agency fees if you fail to pay all sums due within
10 days after we mail you a letter demanding payment and stating
that collection agency fees will be added if you don't pay all sums
by that deadline. Unless modified by Addendum, you will also be
liable for ail of our actual damages related to your breach of the
Lease Contract.

Choice of Remedies and Mitigation of Damages. If you move
out early, you'll be subject to paragraph 11 (Early Move-Out} and
all other remedies. If we regain possession of the apartment asa
result of your breach of the lease, or because you surrendered
possession of the apartment, or because you abandoned possession
of the apartment, or because we obtained possession through
eviction proceedings, unless modified by Addendum, we may either
(a) treat the lease as terminated and re-take possession FOR OUR
OWN ACCOUNT; (b) re-take possession of the apartment FOR YOUR
ACCOUNT and attempt in good faith to re-let it on your behalf; or
(© take no action to obtain possession or re-let the apartment and
continue to collect rent from you as it comes due. If we take
possession of the apartment for our own account, then you will
have no further liability for rents under the remainder of the lease.
Ifwe take possession of the apartment for your account and attempt
to re-let it, you will remain liable for the difference between the
rental remaining due under the lease and the amount we are able
to recover by making a good faith effort at re-letting the premises
on your behalf. We are not required to make an election of which
remedies we choose to pursue ner notify you of which remedies
we will select.

Lease Renewal When A Breach or Default Has Occurred.
In the event that you enter into a subsequent Lease prior to the
expiration of this Lease and you breach or otherwise commit a
default under this Lease, We may, at our sole and absolute discretion,
terminate the subsequent Lease, even if the subsequent Lease term
has yet to commence. We may terminate said subsequent Lease
by sending you written notice of our desire to terminate said
subsequent Lease.

Remedies Cumulative. Except where limited or prohibited by
law, any remedies set forth herein shall be cumulative, in addition
to, and not in limitation of, any other remedies available to Landlord
under any applicable law,

General

Clauses

34, ENTIRE AGREEMENT. You understand and acknowledge that

neither we nor any of our representatives have authority to make
any statements, promises or representations in conflict with orin
addition to the information contained in this Lease Contract or by
a separate written agreement signed by you and us, and we hereby
specifically disclaim any responsibility for any such statements,
promises or representations. You acknowledge that you have not
relied upon any such statements, promises or representations in
signing this Lease Contract and waive any rights or claims arising
from any such statements, promises or representations. Any current
or prior understandings, statements, representations and
agreements, oral or written, including but not limited to, renderings
or representations in brochures, advertising or sales materials and

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35.

oral statements of our representatives, if not specifically expressed
in this Lease Contract, Addenda or separate writing, are void and
have no effect. You acknowledge and agree that you have not relied
on any such items or statements in signing this Lease Contract.

NO AUTHORITY TO AMEND UNLESS IN WRITING,

This Lease Contract is the entire agreement between you and us.
Our representatives (including management personnel, employees,
and agents) have no authority to waive, amend, or terminate this
Lease Contract or any part of it, unless in writing, and no authority
to make promises, representations, or agreements that impose
security duties or other obligations on us or our representatives
unless in writing.

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3G. NO WAIVER. No action or om,

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ission of our representative wi
considered a waiver of any subsequent slams default, or Ms
or place of performance. Our not enforcing or belatedly enforcing
written-notice requirements, rental due dates, liens, or other rights
isn'ta waiver under any circumstances,

NOTICE. Except when notice or demand is required by statute,
you waive any notice and demand for performance from us if vad
default. Written notice to or from our managers constitutes notice
to or from us, Any person giving a notice under this Lease Contract
should retain a copy of the memo, letter or fax that was given. Fax
or electronic signatures are binding. All notices must be signed.

MISCELLANEOUS.

A, Any dimensions and sizes provided to you relating to the
dwelling unit are only approximations or estimates as actual
dimensions and sizes may vary.

B. Exercising one remedy won't constitute an election or waiver
of other remedies.

C. Uniess prohibited by law or the respective insurance policies,
if you have insurance covering the dwelling unit or your
personal belongings at the time you or we suffer or allege a
loss, you and we agree to waive any insurance subrogation
rights.

D. All remedies are cumulative.

E. No employee, agent, or management company is personally
liable for any of our contractual, statutory, or other
obligations merely by virtue of acting on our behalf,

F All provisions regarding our non-liability or non-duty apply
to our employees, agents, and management companies.

G. This Lease Contract binds subsequent owners.

H. Neither an invalid clause nor the omission of initials on any

page invalidates this Lease Contract.

. This Lease Contract is subordinate or superior to existing

and future recorded mortgages, at lender's option.

All Lease Contract obligations must be performed in the

county where the dwelling unit is located.

K. All discretionary rights reserved for us within this Lease
Contract or any accompanying addenda are at our sole and
absolute discretion.

L, Youaffirmatively state that youare nota criminal sex offender.

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RADON GAS: We are required by Florida Statute 404.056(S) to
give the following notification to you. "Radon is a naturally occurring
radioactive gas that, when it has accumulated in a building in
sufficient quantities, may present health risks to persons who are
exposed to it over time. Levels of radon that exceed federal and
state guidelines have been found in buildings in Florida. Additional
information regarding radon gas and radon testing may be obtained
from your county health department.”

WAIVER OF JURY TRIAL. In order te minimize legal expenses
and, to the extent allowed by law, you and we agree that the trial
of any lawsuit, claim, counterclaim, demand, action or cause of
action based on statute, common law, equity, tort, personal injury,
contract and/or in any way related to this Lease Contract, related
to your tenancy, and/or related to your relationship with us, shall
be to a judge and not a jury. YOU AND WE VOLUNTARILY WAIVE
ANY RIGHT TO AJURY TRIAL.

41, CONDOMINIUM OR HOME OWNERS ASSOCIATION RULES:

To the extent applicable, you acknowledge that you have reviewed,
understand and will abide by any Condominium or Home Owner
Association Rules and Regulations ("HOA Rules") that may be in
effect and promulgated from time to time. Your failure to abide by
any HOA Rules is a material breach of this Lease Contract. A copy
of the HOA rules is on file at the office.

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CONTACTING You. B

that we, our represent
that we may contact you using any contact infor,

us @) from which you called us, or (iff) which we obtained and through
which we reasonably believe we can reach you. You agree w
use any means to contact you. This may include calls made t

textm il, e-mai
and calls to your phone or Voice over Internet Protoctl(volP) corn
or any other data or voice transmission technology. You agree 2
promptly notify us ifyou change any contact information you provide
tous. You are responsible for any service provider charges asaresult
of us contacting you.

OBLIGATION TO VACATE, lfwe provide you with a notice to vacate,
or if you provide us with a written notice to vacate or intent to
move-out in accordance with the Lease Terms paragraph, and we
accept such written notice, then you are required to vacate the
apartment and remove all of your personal property therefrom at
the expiration of the Lease term, or by the date set forth in the
notice to vacate, whichever date is earlier, without further notice
or demand from us,

Although the property may currently be providing cable on a bulk
basis to the resident, the property may, with 30 days notice to the
resident, cease providing cable and the resident will contract directly
with the cable provider for such services.

FORCE MAJEURE. If we are prevented from completing
performances of any obligations hereunder by an act of Ged, strikes,
epidemics, war, acts of terrorism, riots, flood, fire, hurricane,
tornado, sabotage, or other occurrence which is beyond the control
of the parties, then we shall be excused from any further performance
of obligations and undertakings hereunder, to the full extent allowed
under applicable law.

Furthermore, if such an event damages the property te materially
affect its habitability by some or all residents, we reserve the ri ight
to vacate any and all leases and you agree to excuse us from any
further performance of obligations and undertakings hereunder,
to the full extent allowed under applicable law.

PAYMENTS. Payment of all sums is an independent covenant. At
our option and without notice, we may apply money received (other
than sale proceeds under paragraph 13 (Contractual Lien and
Property Left In Apartment} or utility payments subject to
governmental regulations) first to any of your unpaid obligations,
then to current rent—regardless of notations on checks or money
orders and regardless of when the obligations arose. All sums other
than rent are due upon our demand. After the due date, we do not
have to accept the rent or any other payments. We do not have to
accept and may reject, at any time and at our discretion, any third
party checks or any attempted partial payment of rent or other
payments,

ASSOCIATION MEMBERSHIP, We represent that either: {1) we
or; (2) the management company that represents us, is at the time
of signing this Lease Contract or a renewal of this Lease Contract,
a member of both the National Apartment Association and any
affiliated state and loca] apartment (multi-housing) associations
for the area where the apartment is located.

When Moving Gut

47, MOVE-OUT NOTICE. Before moving out, either at the end of the

lease term, any extension of the lease term, or prior to the end of the
tease term, you must give our representative advance written notice
of your intention te vacate as required by the paragraph 3 (Lease
Term and Termination Notice Requirements). If you move out prior
to the end of the lease term, your notice does not act as a release of
lability for the full term of the Lease Contract. You will still be liable
for the entire Lease Contract term if you move out early (see paragraph
23 - Release of Resident) except ifyou are able to terminate the Lease
Contract under a separate Addendum, the statutory rights explained
under paragraph 11 (Early Move-Out), paragraph 23 (Release of
Resident), or any other applicable law. All notices to vacate must be
in writing and must provide the date by which you intend to vacate.
ifthe notice does not comply with the time requirements of paragraph
3 (Lease Term and Termination Notice Requirements), even if you
move by the last date in the lease term, you will be responsible for

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damages permitted under the lease and law. If you fail to vacate by
the date set forth in any notice to vacate, we may seek the remedies
and damages specified under the “Holdover” paragraph, or we may
deem your notice void and you must submita new written notice. If
you fail to provide proper notice and vacate, you will be responsible
for damages permitted under the lease and law.

MOVE-OUT PROCEDURES. The move-out date can't be changed
uniess we and you both agree in writing. You won't move out before
the lease term or renewal period ends unless all rent for the entire
lease term or renewal period is paid in full. You're prohibited by law
from applying any security deposit to rent. You won't stay beyond
the date you are supposed to move out. Al! residents, guests, and
occupants must vacate the apartment before the fifteen {15} day
period for deposit refund begins. You must give us and the U.S. Postal
Service, in writing, each resident's forwarding address.

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“Charges under paragraph 28 (Animals); government fees or fines

49. CLEANING. You must thoroughly clean the apartment, including a parag
doors, windows, furniture, bathrooms, kitchen appliances, patios, age ean fos oo (by you, “pur occupants, or guests) of local
balconies, garages, carports, and storage rooms. You must follow | ordinances Tlating to smoke detec., rs and carbon monoxide
move-out cleaning instructions if they have been provided. If you detectors, false alarms, recycling, or other matters; late-payment
don'tclean adequately, you'll be liable for reasonable cleaning charges. and returned-check charges; a charge (not to exceed $100) for owner/

manager's time and inconvenience in our lawful removal ofan animal

50. MOVE-OUT INSPECTION. You should meet with our representative or in any valid eviction proceeding against you, plus attorney's fees,
for a move-out inspection, Our representative has no authority to court costs, and filing fees actually paid; and other sums due under
bind or limit us regarding deductions for repairs, damages, or charges. this Lease Contract.

Any statements or estimates by us or our representative are subject You'll be liable to us for any charges for replacing all keys and access
to our correction, modification, or disapproval before final refunding devices referenced in paragraph 5 (Keys} if you fail to return them
or accounting. on or before your actual move-out date,
51, SECURITY DEPOSIT DEDUCTIONS AND OTHER CHARGES, | 52. SURRENDER AND ABANDONMENT.
You'll be liable for the following charges, if applicable: unpaid rent; Surrender. You have surrendered the apartment when all apartment
unpaid utilities; unpaid contractual fees, early termination charges, keys and access devices listed in paragraph 5 (Keys) have been turned

or liquidated damages if applicable; unreimbursed service charges; | in where rent is paid.

repairs or damages caused by negligence, carelessness, accident, or . .

abuse, including stickers, scratches, tears, burns, stains, or unapproved a Se = ’ —_ Fla, Stat. ee in the absence
holes; replacement cost of our property that was in or attached to of actual knowledge of abandonment, ft shall be presumed that you
the apartment and is missing; replacing dead or missing smoke- have abandoned t Re apartinenel youare abse ait from the ap ar tment
detector and carbon monoxide detector batteries; utilities for repairs be a period of mn caval to one-half ‘pe time for perio’ rental
or cleaning; trips to let in company representatives to remove your P uh si mia er, Mea esump ae oes ret app a : ‘i rent is
telephone or TV cable services or rental items (if you so request or CUETED CR YOU nave HORHSd US. WEN DBEOr an intended absence.
have moved out); trips to open the apartment when you or any guest Surrender, abandonment, and judicial eviction end your right of
or occupantis missing a key; unreturned keys; missing or burned-out possession for all purposes and gives us the immediate right to: clean
light bulbs; removing or rekeying unauthorized access control devices up, make repairs in, and reletthe apartment; determine any security
or alarm systems; packing, removing, or storing property removed deposit deductions, and remove. property left in the apartment.
or stored under paragraph 13 (Contractual Lien and Property Left Surrender, abandonment, and judicial eviction affect your rights to
in Apartment); removing illegally parked vehicles; special trips for property left in the apartment (paragraph 13 (Contractual Lien and
trash removal caused by parked vehicles blocking dumpsters; false Property Left in Apartment)}, but do not affect our mitigation

obligations (paragraph 33 (Default by Resident).

security-alarm charges unless due te our negligence; animal-related

Severability, Signatures, Originals and Attachments

Resident or Residents Date Signed

53, SEVERABILITY. If any provision of this Lease Contract is invalid
fall sign below}

or unenforceable under applicable law, such provision shall be

ineffective to the extent of such invalidity or unenforceability only
without invalidating or otherwise affecting the remainder of this Deborik Urn Roberts 01/10/2023
Lease Contract. The court shall interpret the lease and provisions Mwilin Perry Roberite 01/10/2023

herein ina manner such as to uphold the valid portions of this Lease
Contract while preserving the intent of the parties.

54, ORIGINALS AND ATTACHMENTS, This Lease Contract has been
executed in multiple originals, with original signatures. We will
provide you with a copy of the Lease Contract. Your copy of the

Lease Contract may be in paper format, in an electronic format at Duner none nemeecnenive nseeniend
your request, or sent via e-mail ifwe have communicated by e-mail signingon behalf ofowned) e'
about this Lease. Our rules and community policies, if any, will be

attached to the Lease Contract and provided to you at signing. When Gre ‘ene Yosguvee 01/13/2023

an inventory and Condition form is completed, you should retain
a copy, and we should retain a copy, Any addenda or amendments | Address and phone number of owner's representative for notice
you sign as a part of executing this Lease Contract are bindingand | purposes

are hereby incorporated into and made part of the Lease Contract 190649 Bastille Lane

between you and us. This lease is the entire agreement between
you and us. You acknowledge that you are NOT relying onany oral Orlando, FL 32836
representations. A copy or scan of this Lease Contract andrelated | (407) 545-4720
addenda, amendments, and agreements may be used for any purpose
and shall be treated as an original. Name and address of locator service (if applicable}

You are legally bound by this document.
Read it carefully before signing.

SPECIAL PROVISIONS (CONTINUED FROM PAGE 3) Rent Payments: Rent Payments will only be accepted via
the following approved electronic forms of payment: credit card, debit card, or Automated
Clearing House {ACH} made through Resident's online payment portal, or from any approved

payment center location.

